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IN THE UNITED sTATEs DISTRICT coURT BY - D.c
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG l
wEsTERN DIVISION AH H= g
U.EH;{'QF US ,,QHG/QTU.D
JACQUELINE HENDERSON, ) wm p,§_. E£¢Dggmr
) `_
Plain:iff, ) cgl ;
) No. 2:05-cv-2=|S D An
vs. )
)
FEDERAL EXPRESS CORPORATION )
and FEDERAL EXPRESS coRPORATE )
sERVICEs )
)
Defendants. )

 

J()INT~ SCHEI)ULING ORDER

 

Pursuant to written notice, a scheduling conference was held August 25, 2005.
Present were James King, counsel for Plaintiff, and Mary H. Beard, counsel for
Defendant F ederal Express Corporation. At the conference, the following dates were

established as the final dates for:

 

 

1N111AL UlscLubUKbS PUKSUAN? 'I`u Fed.R.Civ.P. Zo\a)gi ): T`ne parties will
exchange Rule 26 (a)( 1) Initial Disclosures on September 26, 2005.
JOINING PARTIES: October 24, 2005
AMENDING PLEADINGS: October 24, 2005
INTIAL MOTIONS TO DISMISS: November 23, 2005
COMPLETING ALL DISCOVERY: April 24, 2006
(a) DOCUMENT PRODUCTION: April 24, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 24, 2006

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with nule sa and/or YQ(a) FHCP on _ 133 [y§ Q/ ,

Th|s document entered on the docketgslheet in compliance / %

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(c) EXPERT WITNEss DIsCLosURE (Rule 26);

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: February 24, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: March 24, 2006

(3) EXPER'I` WITNESS DEPOSTIONS: April 24, 2006
FILING DISPOSITIVE MOTIONS: June 20, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motion to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or the service of the response, answer, or objection,
which is the subject of the motion, if the default occurs within 30 days of the discovery

deadline, unless the time for filing of such motion is extended for good cause shown, or

 

the objection to the default, response, answer or objection shall be waived.

The case is set forjury trial. The pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge

The case is appropriate for ADR. The parties are directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanies by a

proposed order.

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The opposing party may file a response to any motion filed in this matter, Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

This order has been entered after consultation With trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be

modified or extended

IT IS SO ORDERED.

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HONORABLE DIANE K. VESCOVO
UNITED STATE MAGISTRATE JUDGE

DATE: A¢;M /Zv?@@\.l`_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02l2l was distributed by fax, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

